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IN THE UNITED STATES BANKRUPTCY COURT
FOR THE DISTRICT OF DELAWARE

 

Chapter 11
In re:
Case No. 09-10899 (CSS)

Jointly Administered

Debtors.

)
THE FAIRCHILD CORPORATION, et al.,! )
)
Re: Docket No. 182

 

ORDER APPROVING (1) SPECIFIC DISPOSITIONS OF CERTAIN
DE MINIMIS ASSETS AND (2) PROCEDURES FOR THE SALE, DISPOSITION OR
ABANDONMENT OF DE MINIMIS ASSETS AND CLAIMS,
PURSUANT TO 11 U.S.C. §§105, 363 AND RULES 2002, 6004 AND 7062
OF THE FEDERAL RULES OF BANKRUPTCY PROCEDURE

Upon the motion (the “Motion”? of The Fairchild Corporation (“Fairchild”) and the
other debtors and debtors-in-possession in the above-captioned cases (collectively with Fairchild,
the “Debtors”) for entry of an order (this “Order”) approving disposition transactions involving
certain de minimis assets, as well as procedures of the sale, settlement, disposition or
abandonment of de minimis assets and claims; and it appearing that the relief requested is in the
best interests of the Debtors’ estates, their creditors and other parties in interest; and the Court
having jurisdiction to consider the Motion and the relief requested therein pursuant to 28 U.S.C.
§§ 157 and 1334; and consideration of the Motion and the relief requested therein being a core
proceeding pursuant to 28 U.S.C. § 157(b); and venue being proper before this Court pursuant to

28 U.S.C. §§ 1408 and 1409; and notice of the Motion having been adequate and appropriate

 

' The last four digits of Fairchild’s federal tax identification number are 8587. The mailing
address for Fairchild is 1750 Tysons Boulevard, Suite 1400, McLean, VA 22102. Due to the large
number of Debtors in these cases, for which the Debtors have requested joint administration, a complete
list of the Debtors, the last four digits of their federal tax identification numbers and their addresses is not
provided herein. A complete list of such information may be obtained on the website of the Debtors’
noticing and claims agent at http://chapter1 1 .epiqsystems.com/fairchild.

* Capitalized terms not otherwise defined herein shall have the meanings ascribed to them in the
Motion.

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under the circumstances and no further notice of any kind being required under the
circumstances here presented; and after due deliberation and sufficient cause appearing

therefore:

IT IS HEREBY ORDERED THAT:

1. The Motion is GRANTED as set forth herein.

2. Any objections to the Motion that were not withdrawn or otherwise resolved as
reflected on the record of any hearing on the Motion are denied and overruled on the merits.

3. The Debtors are authorized, but not required, to consummate each of the Proposed
Dispositions involving, respectively, the House, the Painting and the Corporate Art, free and
clear of any Liens, without any further notice or order of this Court.

4, Pursuant to section 363(b) of the Bankruptcy Code, the Debtors are authorized to
sell, settle or dispose of the De Minimis Assets in accordance with the following procedures (the
“De Minimis Asset Sale Procedures”):

(a) The De Minimis Asset Sale Procedures shall apply to any
sales, settlements or dispositions of De Minimis Assets in
any individual transaction or series of related transactions
to a single buyer or group of related buyers with a selling
price that does not exceed $1,250,000;3

(b) The Debtors are authorized to consummate such
transactions if the Debtors determine in the exercise of their
business judgment that such sales, settlements or
dispositions are in the best interests of the estates, without
further order of the Court, subject to compliance with these
De Minimis Asset Sale Procedures;

(c) Any such transactions shall be free and clear of all Liens,
with any Liens on such De Minimis Assets to attach to the
proceeds thereof with the same validity, extent and priority,
and subject to the same defenses, as had attached to such

 

3 For purposes of these procedures, the selling price shall refer to the Debtors’ estimate of the net
proceeds of any sale transaction.

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(d)

(e)

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(g)

(h)

assets immediately prior to such sale, settlement or
disposition transaction;

The Debtors shall give written notice of such sale,
settlement or disposition transaction (the “Sale Notice”) to
(a) the United States Trustee, (b) counsel to the Creditors’
Committee, (c) counsel to the Debtors’ prepetition secured
lenders, (d) counsel to the Debtors’ postpetition secured
lenders, (f} any known affected creditor(s) asserting a Lien
on the relevant De Minimis Asset(s), (g) any party that has
expressed an interest in purchasing the relevant De Minimis
Asset(s) and (h) those parties requesting notice pursuant to
Bankruptcy Rule 2002 (the “Notice Parties”);

The Sale Notice shall be sent to the Notice Parties by U.S.
mail, and shall be sent to the Committee’s counsel by
e-mail and U.S. mail, at least ten days prior to the closing
of such sale or disposition transaction;

The content of the Sale Notice shall consist of
(a) identification of the De Minimis Assets that are the
subject of such proposed sale or disposition transaction; (b)
identification of the counter-party(ies) to such proposed
transaction; (c) statement of any known relationships
between the purchaser and any of the Debtors; and (d) the
material economic terms of the proposed sale or disposition
transaction, including the estimate of the net amount of any
proceeds to be received by the Debtors’ estates;

If within such ten-day period a Notice Party other than the
Committee files a written objection with the Court, or the
Committee notifies the Debtors’ counsel in writing of any
questions or concerns the Committee may have with
respect to any proposed sale or disposition transaction, in
either case which the Debtors and objector(s) do not
resolve by agreement among themselves, then the relevant
De Minimis Asset(s) shali be sold, settled or disposed of
only upon further order of this Court after notice and a
hearing;

If within such ten-day period no Notice Party files a written
objection with the Court, and the Committee does not
notify the Debtors’ counsel in writing of any questions or
concerns the Committee may have with respect to any
proposed sale or disposition transaction, then the Debtors
are authorized, but not directed, to immediately
 

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consummate such sale, settlement or disposition
transaction; and

(i) The Debtors are to provide a written report to the Court, the
U.S. Trustee, counsel to the Committee and those parties
requesting notice pursuant to Bankruptcy Rule 2002,
beginning with the period ending on June 30, 2009, and at
three-month intervals thereafter, no later than 30 days after
the end of such period, concerning any sales of De Minimis
Assets made during such period pursuant to these
procedures, including the names of the counter-parties to
the disposition transactions, as well as the material
economic terms from the standpoint of the Debtors’ estates.
If no sales are made during any given period, no report
need be provided.

3. The procedures for disposing of De Minimis Assets to which this Order applies
shall not apply to any transactions where the Debtors’ counter-party is an “insider” of the
Debtors, including the persons and entities identified in section 101(31) of the Bankruptcy
Code’s non-exhaustive listing, as well as any officers, directors, principals, agents, employees,
professionals and attorneys of any of the Debtors, Phoenix Banner LLC, PNC Bank, N.A. and

the Committee.

6. Any parties’ failure to object to the Motion coupled with such party’s failure to
timely object to any Sale Notice, in accordance with the terms of the De Minimis Asset Sale
Procedures, shall be deemed to “consent” to such sale, settlement or disposition transactions
within the meaning of section 363(f)(2) of the Bankruptcy Code.

7. Any pre-existing liens, claims, interests and encumbrances (collectively, the
“Liens”) shall attach to any proceeds, if any, of sales, settlements and disposition transactions
involving the De Minimis Assets with the same validity, extent and priority as such Liens
attached to such assets immediately prior to the sale or disposition thereof, and subject to the
same defenses (including any avoidance actions under chapter 5 of the Bankruptcy Code that

may exist with respect to such Liens).

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8. The Debtors are authorized pursuant to section 554(a) of the Bankruptcy Code to

abandon De Minimis Assets in accordance with the following procedures (the “De Minimis Asset

Abandonment Procedures”):

(a) The Debtors shall give written notice of the proposed
abandonment of De Minimis Assets (the “Abandonment
Notice”) to the Notice Parties;

{b) The Abandonment Notice shall contain a description in
reasonable detail of the De Minimis Assets to be abandoned
and the Debtors’ reasons for such proposed abandonment;

(c) The Abandonment Notice shall be sent to the Notice Parties
by U.S. mail, and shall be sent to the Committee’s counsel
by e-mail and U.S. mail, at least ten days prior to the
effective date of such abandonment;

(d) — If within such ten-day period a Notice Party other than the
Committee files a written objection with the Court, or the
Committee notifies the Debtors’ counsel in writing of any
questions or concerns the Committee may have with
@ respect to any proposed abandonment, in either case which
the Debtors and cbjector(s) do not resolve by agreement
among themselves, then the relevant De Minimis Asset(s)
shall be abandoned only upon further order of this Court
after notice and a hearing; and

(e) If within such ten-day period no Notice Party files a written
objection with the Court, and the Committee does not
notify the Debtors’ counsel in writing of any questions or
concerns the Committee may have with respect to any
proposed abandonment, then the Debtors are authorized,
but not directed, to immediately consummate such
abandonment.

9. The Debtors, including their officers, directors, employees, agents, professionals
and attorneys, are authorized to take all actions necessary or appropriate to effectuate the relief

granted pursuant to this order.

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10. Notwithstanding the possible applicability of Bankruptcy Rules 6004(h) and
7062, the terms and conditions of this Order shal! be immediately effective and enforceable upon
its entry.

11. The Court retains jurisdiction with respect to all matters arising from or related to

the implementation of this Order.

Dated: May _/>, 2009 /} Cot

Wilmington, Delaware THE HONORABLE CHRISTOPHER 8. SONTCHI
UNITED STATES BANKRUPTCY JUDGE

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